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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

ANNA ULUBIYO,

                        Plaintiff,

                               v.
                                            Case No. 1:20-cv-04362-WMR-JSA
HEALTHCARE REVENUE
RECOVERY GROUP LLC
D/B/A ACCOUNT
RESOLUTION SERVICES,
LLC,

                     Defendant.


             CERTIFICATE OF CONSENT TO WITHDRAW AS
                     COUNSEL FOR PLAINTIFF

       COME NOW Matthew Landreau, pursuant to Rule 83.1E of the Civil Local

Rules of Practice for the United States District Court for the Northern District of

Georgia, file this Certificate of Consent to withdraw as counsel for Plaintiff.

       Furthermore, Plaintiff has selected Daniel Brennan and the law firm of Credit

Repair Lawyers of America (“CRLAM Counsel”) to serve as lead counsel for the

Plaintiff.
     Case 1:20-cv-04362-WMR-JSA Document 14 Filed 04/16/21 Page 2 of 5
      As evidenced by its signature below, Plaintiff consents to the requested

withdrawal and substitution of counsel.


      Respectfully submitted, this 16 day of April, 2021.

                               /s/ Matthew Landreau
                               Matthew Landreau
                               Georgia Bar No. 301329

                               /s/ Daniel Brennan
                               Daniel Brennan
                               Georgia Bar No. 271142


CREDIT REPAIR LAWYERS OF AMERICA
22142 West Nine Mile Road
Southfield, MI 48033
Telephone: (248) 353-2882
Facsimile: (248) 353-4840




Plaintiff/Client                       /s/
                                              Anna Ulubiyo




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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


ANNA ULUBIYO,

                        Plaintiff,

                               v.             Case No. 1:20-cv-04362-WMR-JSA

HEALTHCARE REVENUE
RECOVERY GROUP LLC
D/B/A ACCOUNT
RESOLUTION SERVICES,
LLC,

                      Defendant,


                          CERTIFICATE OF SERVICE

      I hereby certify that on April 16, 2021, a copy of the foregoing Certificate

of Consent to Withdraw as Counsel for Plaintiff was electronically filed with

the Clerk of Court using the CM/ECF system which will automatically send

notification of such filing to the following attorneys of record:

      Ernest H. Kohlmyer III
      2300 Maitland Center Parkway, Suite 100
      Maitland, Florida 32751
      (407) 622-1772
      (407) 622-1884
      SKohlmyer@shepardfirm.com

      Counsel for Healthcare Revenue Recovery
      Group LLC dba Account Resolution Services

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                              /s/ Daniel Brennan
                              Daniel Brennan
                              Georgia Bar No. 271142




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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


ANNA ULUBIYO,

                        Plaintiff,

                               v.            Case No. 1:20-cv-04362-WMR-JSA

HEALTHCARE REVENUE
RECOVERY GROUP LLC
D/B/A ACCOUNT
RESOLUTION SERVICES,
LLC,
              Defendant.



            LR 7.1(D) CERTIFICATE OF FONT COMPLIANCE

      I hereby certify that the foregoing has been prepared with one of the font and

point selections approved by the Court in Rule 5.1(C) of the Civil Local Rules of

Practice for the United States District Court for the Northern District of Georgia,

specifically Times New Roman 14 pt.


                                       /s/ Daniel Brennan
                                       Daniel Brennan
                                       Georgia Bar No. 271142




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